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                      Exhibit C
12/5/2020                   Case 1:20-cv-04809-TCB              Document
                                      Historic First Statewide Audit           61-3Upholds
                                                                     Of Paper Ballots Filed  12/05/20
                                                                                           Result             Page
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                                                                                                                       | Elections


                    HOME                    CORPORATIONS                      ELECTIONS                     LICENSING               SECURITIES                  CHARITIES




                                   VOTER INFO.                RESULTS & STATS               CANDIDATE INFO.             COUNTY & AGENCY




               H I S TO R I C F I R S T S TAT E W I D E A U D I T O F PA P E R B A L LOT S U P H O L D S
               R E S U LT O F P R E S I D E N T I A L R A C E



     (ATLANTA)-Today, Secretary of State Brad Raffensperger announced the results of the Risk Limiting
     Audit of Georgia’s presidential contest, which upheld and reaf rmed the original outcome produced by                 Key Election Dates and       Military and Overseas
                                                                                                                               Information                     Voting
     the machine tally of votes cast. Due to the tight margin of the race and the principles of risk-limiting
     audits, this audit was a full manual tally of all votes cast. The audit con rmed that the original machine
     count accurately portrayed the winner of the election. The results of the audit can be                                  Register to Vote         Where do I vote? (MVP)
     viewed HERE , HERE , and HERE .

     “Georgia’s historic rst statewide audit reaf rmed that the state’s new secure paper ballot voting
     system accurately counted and reported results,” said Secretary Raffensperger. “This is a credit to the            QUICK LINKS
     hard work of our county and local elections of cials who moved quickly to undertake and complete such
     a momentous task in a short period of time.”                                                                       2020 General Recount       Risk Limiting Audit Public
                                                                                                                        Info by County             Notice
     “Georgia’s rst statewide audit successfully con rmed the winner of the chosen contest and should give
                                                                                                                        2020 Presidential          GA Voter ID Info.
     voters increased con dence in the results,” said Ben Adida, Executive Director of VotingWorks. “We
                                                                                                                        Electors
     were proud to work with Georgia on this historic audit. The difference between the reported results
     and the full manual tally is well within the expected error rate of hand-counting ballots, and the audit           State Election Board       Secure The Vote
     was a success.”
                                                                                                                        Elections Advisory         2019 Of cial Directory
     By law, Georgia was required to conduct a Risk Limiting Audit of a statewide race following the                    Council
     November elections. Understanding the importance of clear and reliable results for such an important
                                                                                                                        Vote Safe                  SAFE Commission
     contest, Secretary Raffensperger selected the presidential race in Georgia for the audit. Meeting the
     con dence threshold required by law for the audit meant conducting a full manual tally of every ballot             Voter Registration Drive   Stop Voter Fraud
     cast in Georgia.
                                                                                                                        Reexamination Costs        Online Complaints
     The Risk Limiting Audit reaf rmed the outcome of the presidential race in Georgia as originally
                                                                                                                        Information for Voter      Proposed Constitutional
     reported, with Joe Biden leading President Donald Trump in the state.
                                                                                                                        Registrations Pending      Amendments
     The audit process also led to counties catching making mistakes they made in their original count by not           Due to Citizenship
     uploading all memory cards. Those counties uploaded the memory cards and re-certi ed their results,
                                                                                                                        Intent to Tabulate Early   Great Seal
     leading to increased accuracy in the results the state will certify.
                                                                                                                        SD 4 Quali ed              iVote - Students / Educators
     The differential of the audit results from the original machine counted results is well within the
                                                                                                                        Candidates
     expected margin of human error that occurs when hand-counting ballots. A 2012 study by Rice
     University and Clemson University found that “hand counting of votes in postelection audit or recount              Advance Voting Info.       Check Your Provisional

     procedures can result in error rates of up to 2 percent.” In Georgia’s recount, the highest error rate in                                     Ballot Status for November

     any county recount was .73%. Most counties found no change in their nally tally. The majority of the                                          6, 2018 Election

     remaining counties had changes of fewer than ten ballots.
                                                                                                                        2019 List Maintenance      FAQs

     Because the margin is still less than 0.5%, the President can request a recount after certi cation of the
     results. That recount will be conducted by rescanning all paper ballots.                                           LATEST ELECTIONS NEWS
     Click here for the Risk Limiting Audit Report
                                                                                                                        Secretary Raffensperger Launches Investigation of
                                                                                                                        Florida Attorney Looking to Fraudulently Register and
                                                      ###



https://sos.ga.gov/index.php/elections/historic_first_statewide_audit_of_paper_ballots_upholds_result_of_presidential_race                                                        1/2
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                                                                                                       Vote in Georgia’s Runoff Election
                                                                                                       Thursday, December 03rd 2020


                                                                                                       Secretary Raffensperger Launches Investigation Into
                                                                                                       Groups Encouraging Fraudulent Registrations
                                                                                                       Wednesday, December 02nd 2020


                                                                                                       Secretary Raffensperger and Spalding Legislative
                                                                                                       Delegation Call for Resignation of Spalding County
                                                                                                       Elections Director Following Serious Management Issues
                                                                                                       Tuesday, December 01st 2020


                                                                                                       Historic First Statewide Audit of Paper Ballots Upholds
                                                                                                       Result of Presidential Race
                                                                                                       Thursday, November 19th 2020


                                                                                                       Number of Absentee Ballots Rejected for Signature
                                                                                                       Issues in the 2020 Election Increased 350% from 2018
                                                                                                       Wednesday, November 18th 2020




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Risk-Limiting Audit Report
Georgia Presidential Contest, November 2020
November 19th, 2020

From November 11 to November 19, 2020, county election officials in Georgia, conducted a
statewide risk-limiting audit of the Presidential Contest from the November 2020 General
Election, as ordered by the Georgia Secretary of State. Georgia’s original machine count
resulted in a margin of 0.3% between candidates Joe Biden and Donald Trump, requiring a full
manual count of just over 5 million ballots to complete an efficient risk-limiting audit. Audit
boards from all 159 Georgia counties examined 41881 batches, hand-sorting and counting each
ballot as part of the process, which was the largest hand count of ballots in United States
history. This document summarizes the findings of the audit.


Audit Outcome
The audit confirmed the original result of the election, namely that Joe Biden won the
Presidential Contest in the State of Georgia. Like any risk-limiting audit, this audit does not
confirm or correct the exact margin of victory. It only provides sufficient evidence that the correct
winner was reported.


Hand-Count Variations
Prior research indicates that the expected variance between hand and machine counts,
assuming no issues beyond normal human error in the counting process, ranges anywhere from
1.0 - 1.5% across all ballot types.

Georgia shows a 0.1053% (0.001053) variation in statewide total vote count, and a 0.0099%
(0.000099) variation in the overall margin. The audited vote totals from the hand tally for the
three candidates were:
 Trump        2,462,857

 Biden        2,475,141

 Jorgensen       62,587


In addition, no individual county showed a variation in margin larger than 0.73%, and 103 of the
159 counties showed a margin variation of less than 0.05%.
